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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 17-7035                                                     September Term, 2017
                                                                           1:13-cv-01215-TSC
                                                                           1:14-cv-00857-TSC
                                                       Filed On: May 14, 2018 [1730922]
American Society for Testing and Materials,
et al.,

                   Appellees

         v.

Public.Resource.Org, Inc.,

                   Appellant


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Consolidated with 17-7039

         BEFORE: Circuit Judges Tatel, Wilkins, and Katsas


                         COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on May 14, 2018 at 10:11 a.m.The
cause was heard as case No. 2 of 2 and argued before the Court by:

       Corynne McSherry, counsel for Appellant.
       Donald B. Verrilli, Jr., counsel for Appellees.


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Shana E. Thurman
                                                              Deputy Clerk
